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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
          MARGARET DALLO,
 7
                                     Plaintiff,
 8                                                            C19-865 TSZ
                  v.
 9                                                            MINUTE ORDER
          HOLLAND AMERICA LINE,
10
                                     Defendant.
11
        The following Minute Order is made by direction of the Court, the Honorable
12 Thomas S. Zilly, United States District Judge:

13         (1)    The Court has reviewed the Joint Submission of Deposition Designations
     and Objections, docket no. 49, and now rules as follows:
14
                       (a)    Aguirre deposition – all objections are overruled.
15
                       (b)    Colwell deposition – objection, pgs. 14:4-15:1, is sustained;
16                            objection, pg. 16:18-22, is overruled; objections, pgs. 18:4-20; 23:5-
                              24:2, and 25:8-11, are sustained.
17
                       (c)    No other objections were noted for any other deposition.
18          (2)        The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
19
            Dated this 14th day of September, 2020.
20
                                                          William M. McCool
21                                                        Clerk

22                                                        s/Karen Dews
                                                          Deputy Clerk
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     MINUTE ORDER - 1
